OPINION — AG — NO GROSS PRODUCTION TAXES PAID MORE THAN THREE YEARS PRIOR TO THE FILLING BY THE CARTER OIL COMPANY OF ITS CLAIM FOR REFUND INVOLVED IN YOUR QUESTION SHOULD BE REFUNDED UNDER 68 O.S.H. 832, WE NOTE, THAT, PURPORTING TO ACT UNDER AUTHORITY OF 68 O.S.H. 830, THE CARTER OIL COMPANY, AS PURCHASER OF THE OIL CREDITABLE TO THE MINERAL RIGHTS INVOLVED IN THE ABOVE MENTIONED LITIGATION, PAID THE USUAL GROSS PRODUCTION TAX THEREON IT ACCRUED.  HOWEVER, WE DO NOT HEREIN CONSIDER OR PASS UPON THE QUESTION AS TO WHETHER OR NOT THE OKLAHOMA TAX COMMISSION'S RECEIPT FOR SUCH GROSS PRODUCTION TAXES, MUST, TO THE EXTENT OF SUCH TAXES, BE ACCEPTED BY THE COMMISSIONERS OF THE LAND OFFICE IN LIEU OF PAYMENT FOR SUCH PRODUCTION IN THE SETTLEMENT OF THE PURCHASE PRICE OF SUCH OIL, AS PROVIDED FOR IN 68 O.S.H. 830 CITE: 12 O.S.H. 95, 68 O.S.H. 832  (JAMES C. HARKIN)